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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 IVAN CURBELO,

             Plaintiff,

 v.                                   Case No: 2:14-cv-94-FtM-29CM
                                      Case No: 2:09-cr-77-FtM-29SPC

 UNITED STATES OF AMERICA,

             Defendant.


                             OPINION AND ORDER

       This matter comes before the Court on petitioner’s Motion

 Under 28 U.S.C. Section 2255 to Vacate, Set Aside or Correct

 Sentence by a Person in Federal Custody (Cv. Doc. #1; Cr. Doc.

 557) 1 filed on February 14, 2014.        The government filed a Response

 in Opposition (Cv. Doc. #7).         For the reasons set forth below,

 petitioner’s motion is denied.

                                      I.

       On October 27, 2009, a federal grand jury returned a five-

 count Indictment against eleven defendants.             (Cr. Doc. #104.)

 Petitioner, Ivan Curbelo, and others were charged in Count I with

 conspiring from April 2002 through October 27, 2009, to manufacture



       1The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this opinion.
 The Court will refer to the docket of the civil habeas case as
 “Cv. Doc.”, and will refer to the docket of the underlying criminal
 case as “Cr. Doc.”
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 and to possess with intent to distribute 1,000 or more marijuana

 plants and to distribute and to possess with intent to distribute

 100 or more kilograms of marijuana, in violation of 21 U.S.C. §§

 841(a)(1),    (b)(1)(A)(vii),          (b)(1)(B)(vii)     and     846.       Count    V

 charged petitioner and others with knowingly and intentionally

 manufacturing     100     or    more    marijuana     plants      with    intent     to

 distribute them on September 29, 2009, in violation of section

 841(a)(1) and (b)(1)(B)(vii) and 18 U.S.C. § 2.                   (Cr. Doc. #104.)

 Petitioner was convicted by a jury of both counts.                         (Cr. Doc.

 #326.)     The Court sentenced petitioner to serve the mandatory

 minimum term of imprisonment of ten years to be followed by five

 years of supervised release.            (Cr. Doc. #420.)

        Petitioner filed a direct appeal raising five arguments: 1)

 the global-positioning-system (GPS) tracking evidence was obtained

 in    violation   of     the   Fourth    Amendment;     2)   trial       counsel   was

 ineffective for failing to move to suppress the GPS-tracking

 evidence; 3) the evidence was insufficient to support a sentencing

 enhancement for conspiracy to possess over 1,000 plants; 4) the

 court    violated      the     Confrontation     Clause      by    admitting       the

 translated transcripts; and 5) the court erred in not submitting

 the forfeiture allegations to the jury.               Petitioner’s conviction

 and   sentence    were    affirmed.       (Cr.   Doc.    #546.)          Petitioner’s

 petition for writ of certiorari to the United States Court of




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 Appeals for the Eleventh Circuit was denied.            Curbelo v. United

 States, 134 S. Ct. 962, (U.S. 2014).

        Petitioner’s timely § 2255 motion raises the same five grounds

 for relief that were raised on direct appeal.           (Cv. Doc. #1; Cr.

 Doc. #557.)    The United States argues that petitioner’s challenge

 is not cognizable; all of petitioner’s claims have been previously

 resolved by the Eleventh Circuit Court of Appeals; petitioner is

 procedurally defaulted on his claims; and the petition lacks

 substantive argument and otherwise fails on the merits.           (Cv. Doc.

 #7.)

                                     II.

        Petitioner is not entitled to an evidentiary hearing.               A

 district court shall hold an evidentiary hearing on a habeas

 petition “unless the motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief. . .

 .”   28 U.S.C. § 2255(b).     “[I]f the petitioner alleges facts that,

 if true, would entitle him to relief, then the district court

 should order an evidentiary hearing and rule on the merits of his

 claim.”    Aron v. United States, 291 F.3d 708, 714-15 (11th Cir.

 2002) (citation omitted).         See also Winthrop-Redin v. United

 States, 767 F.3d 1210, 1215-16 (11th Cir. 2014).                However, a

 “district court is not required to hold an evidentiary hearing

 where the petitioner’s allegations are affirmatively contradicted

 by the record, or the claims are patently frivolous.”          Id. at 715.



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 See also Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir.

 2008).      Here, even when the facts are viewed in the light most

 favorable to petitioner, he has not established that either trial

 counsel provided constitutionally ineffective assistance, or that

 he was otherwise deprived of a constitutional right.            Therefore,

 the Court finds that an evidentiary hearing is not warranted in

 this case.

                                     III.

       As noted above, the petition raises the same five grounds

 that were raised and addressed on direct appeal.             In fact, the

 “argument” section of the petition (Cv. Doc. #1, pp. 5-18) is

 identical to the argument section submitted in petitioner’s direct

 appeal. 2    Reply Brief of Appellant, Ivan Curbelo, United States v.

 Curbelo, 726 F.3d 1260 (11th Cir. 2013) (No. 10-14665-E), 2012 WL

 4321851 (C.A. 11).

       The Eleventh Circuit rejected petitioner’s arguments with

 regard to Counts I, III, IV, and V.        United States v. Curbelo, 726

 F.3d 1260 (11th Cir. 2013).        Specifically, the Eleventh Circuit

 found:      1) the district court did not err when it allowed the

 Government to present GPS-tracking evidence because petitioner

 waived his suppression claim by failing to file a motion to

 suppress, id. at 1266-67; 2) there was sufficient evidence to


       2However, the Court notes that the discussion of Count V in
 the petition was cut short. (Cv. Doc. #1, p. 18.)



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 support petitioner’s sentence enhancement in Count I, id. at 1269;

 3) the    admission of the transcripts was proper and did not violate

 the Confrontation Clause, id. at 1271-76; and 4) the petitioner

 was not entitled to have the forfeiture allegations submitted to

 a jury, id. at 1276-78.         As to Count II, the Eleventh Circuit

 declined consideration of petitioner’s ineffective assistance of

 counsel claim based on the record before it.          Id. at 1267.

       This Court “is not required to reconsider claims of error

 that were raised and disposed of on direct appeal.”          United States

 v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000).           If a claim has

 previously been raised on direct appeal and decided adversely to

 a defendant, it cannot be relitigated in a collateral attack under

 § 2255.     Id.   Therefore, petitioner may not now relitigate the

 claims that were raised and resolved in his direct appeal.

                                     IV.

       The only issue remaining for this Court’s consideration is

 whether petitioner’s trial counsel was ineffective for failing to

 move to suppress the GPS-tracking evidence.          For the reasons set

 forth below, the Court finds that petitioner was not denied his

 constitutional right to effective assistance of counsel.

 A.    Ineffective Assistance of Counsel Legal Principles

       The legal standard for ineffective assistance of counsel

 claims in a habeas proceeding is well established.           To prevail on

 a claim of ineffective assistance of counsel, a habeas petitioner



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 must demonstrate both that (1) counsel’s performance was deficient

 because it fell below an objective standard of reasonableness, and

 (2) prejudice resulted because there is a reasonable probability

 that,    but    for     the   deficient     performance,       the    result      of    the

 proceeding would have been different.                   Hinton v. Alabama, ___ U.S.

 ___,    134    S.   Ct.   1081,     1087-88       (2014)    (citing    Strickland        v.

 Washington, 466 U.S. 668, 687, 694 (1984) and Padilla v. Kentucky,

 559 U.S. 356, 366 (2010)).

        The     proper     measure    of     attorney       performance      is    simply

 reasonableness under prevailing professional norms considering all

 the    circumstances.            Hinton,    134    S.    Ct.   at    1088   (citations

 omitted).       A court must “judge the reasonableness of counsel’s

 challenged conduct on the facts of the particular case, viewed as

 of the time of counsel’s conduct . . .”                  Roe v. Flores-Ortega, 528

 U.S.    470,    477     (2000)    (quoting    Strickland,       466    U.S.      at    690)

 (internal quotation marks omitted).                     This judicial scrutiny is

 highly deferential, and the Court adheres to a strong presumption

 that counsel’s conduct falls within the wide range of reasonable

 professional assistance.            Strickland, 466 U.S. at 689-90.                   To be

 objectively unreasonable, the performance must be such that no

 competent counsel would have taken the action.                        Rose v. McNeal,

 634 F.3d 1224, 1241 (11th Cir. 2011); Hall v. Thomas, 611 F.3d

 1259, 1290 (11th Cir. 2010).                Additionally, an attorney is not

 ineffective for failing to raise or preserve a meritless issue.



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 United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992);

 Ladd v. Jones, 864 F.2d 108, 109-10 (11th Cir. 1989).

       To establish prejudice under Strickland, petitioner must show

 more than that the error had “some conceivable effect on the

 outcome of the proceeding.”         Marquard v. Sec’y for the Dep’t of

 Corr., 429 F.3d 1278, 1305 (11th Cir. 2005) (quotation marks

 omitted).     Rather, the petitioner must show that there is a

 reasonable    probability   that,    but    for   counsel’s    unprofessional

 errors, the result of the proceeding would have been different.

 Hinton, 134 S. Ct. at 1087-88.          “A reasonable probability is a

 probability sufficient to undermine confidence in the outcome.”

 Hinton, 134 S. Ct. at 1089 (quoting Strickland, 466 U.S. at 694)

 (internal quotation marks and citations omitted).

 B.    Application of Principles

       Petitioner asserts his counsel’s performance was ineffective

 because he failed to file a motion to suppress the GPS-tracking

 evidence.    Petitioner relies on the Supreme Court’s holding that

 the attachment of a GPS-tracking device to a vehicle is a search

 within the meaning of the Fourth Amendment.              United States v.

 Jones, 132 S. Ct. 945 (2012).

       Here, the record shows that in the course of investigating

 this case, agents placed GPS-tracking devices on vehicles used by

 two co-defendants.      (Cr. Doc. #446, pp. 72-73.)           One of the GPS-

 tracking devices was installed on May 23, 2008.                   (Id.)   The



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 investigators did not obtain a warrant before installing the

 tracking devices.           The agents also conducted GPS-tracking of

 unspecified cellular phones.           (Id. at p. 48.)     The investigation

 lasted from early January 2008 through late September 2009.                (Id.

 at p. 107.)      Petitioner was arrested on September 29, 2009 and

 found guilty of both counts on May 28, 2010.              (Cr. Doc. #19; Cr.

 Doc. #326.)

       Circuit precedent during the relevant time period provided

 that law enforcement only needed reasonable suspicion to support

 lawful installation of a GPS-tracking device.              See United States

 v. Michael, 645 F.2d 252, 257, 259 (5th Cir. 1981). 3               Petitioner

 does not argue the agents lacked reasonable suspicion to install

 the GPS-tracking devices.         Therefore, even if Jones would have

 rendered the warrantless searches unreasonable, the agents’ good-

 faith     reliance   upon    Michael    rendered     exclusion   inappropriate

 because, at the time of the GPS searches, Michael was binding

 precedent     that    clearly     dictated     the     constitutionality     of

 warrantless GPS surveillance.            The Supreme Court has held that

 searches conducted in objectively reasonable reliance on binding

 appellate precedent are not subject to the exclusionary rule,

 because “suppression would do nothing to deter police misconduct



       3Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
 1981) (en banc), adopted as binding precedent all decisions of the
 former Fifth Circuit handed down before October 1, 1981.



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 in those circumstances.”        Davis v. United States, 564 U.S. 229,

 (2011); United States v. Lebowitz, 676 F.3d 1000, 1010 (11th Cir.

 2012) (evidence seized in good-faith reliance on Eleventh Circuit

 precedent    (later   overturned    by   the   Supreme    Court)    precluded

 exclusion of that evidence).        Thus, counsel’s assessment of the

 law at the time was correct, and he was not constitutionally

 ineffective for his decision not to challenge the GPS-tracking

 evidence.    A change of law does not entitle a habeas petitioner

 to relief.    E.g., McCarthan v. Dir. of Goodwill Indus.-Suncoast,

 Inc., ___ F.3d ___, 2017 WL 977029 (11th Cir. Mar. 14, 2017).

       In addition, petitioner does not allege that his own cellular

 phone was monitored or that he owned or possessed the vehicles on

 which the GPS-tracking devices were placed.              Rather, the record

 shows the vehicles that were tracked belonged to co-defendants.

 (Cr. Doc. #446, pp. 72-73.)        Furthermore, it is unclear from the

 record    which   defendants’    cellular      telephones    were    tracked.

 Consequently, there is no evidence that petitioner’s cellular

 telephone or vehicle was monitored by GPS-tracking devices and

 therefore no evidence that petitioner would have “standing” to

 raise challenges.

       Petitioner’s counsel had no basis for filing a suppression

 motion.     An attorney is not ineffective for failing to raise or

 preserve a meritless issue.        Winfield, 960 F.2d at 974.        Because

 petitioner has failed to make the required showing of either



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 deficient performance or prejudice, Count II is denied.

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.    Petitioner’s Motion Under 28 U.S.C. Section 2255 to

 Vacate, Set Aside or Correct Sentence by a Person in Federal

 Custody (Cv. Doc. #1; Cr. Doc. #557) is DENIED.

       2.    The Clerk of the Court shall enter judgment accordingly

 and close the civil file.        The Clerk is further directed to place

 a copy of the civil Judgment in the criminal file.

       IT IS FURTHER ORDERED:

       A CERTIFICATE OF APPEALABILITY (COA) AND LEAVE TO APPEAL IN

 FORMA PAUPERIS ARE DENIED.        A prisoner seeking a writ of habeas

 corpus has no absolute entitlement to appeal a district court’s

 denial of his petition.      28 U.S.C. § 2253(c)(1); Harbison v. Bell,

 556 U.S. 180, 183 (2009).        “A [COA] may issue . . . only if the

 applicant has made a substantial showing of the denial of a

 constitutional right.”       28 U.S.C. § 2253(c)(2).        To make such a

 showing,    petitioner   “must    demonstrate   that   reasonable   jurists

 would find the district court’s assessment of the constitutional

 claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282

 (2004), or that “the issues presented were adequate to deserve

 encouragement to proceed further,” Miller-El v. Cockrell, 537 U.S.

 322, 336 (2003)(citations and internal quotation marks omitted).




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 Petitioner     has   not    made   the   requisite     showing    in    these

 circumstances.

       Finally, because petitioner is not entitled to a certificate

 of appealability, he is not entitled to appeal in forma pauperis.

       DONE and ORDERED at Fort Myers, Florida, this              27th     day

 of March, 2017.




 Copies:
 Counsel of Record




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